Case 2:19-cv-00390-JRG Document 88 Filed 09/04/20 Page 1 of 1 PageID #: 2821




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

TRIOPTIMA AB,                                     §
                                                  §
                                                  §   CIVIL ACTION NO. 2:19-CV-00390-JRG
               Plaintiff,                         §
                                                  §
v.                                                §
                                                  §
QUANTILE TECHNOLOGIES LIMITED,                    §
                                                  §
               Defendant.                         §


                                            ORDER

       Before the Court is Quantile Technologies Limited’s (“Quantile”) Motion to Dismiss for

Lack of Personal Jurisdiction or to Transfer Venue to the Southern District of New York (the

“Motion”). (Dkt. No. 76). On September 4, 2020, the Court heard oral argument on the Motion.

       Having considered the briefing and oral arguments, the Court finds that the Motion should

be CARRIED. In the interim, the Court ORDERS limited jurisdictional discovery. Plaintiff
   .
TriOptima AB (“TriOptima”) shall take one Rule 30(b)(6) deposition of Quantile focused solely

upon jurisdictional facts and issues within twenty-one (21) days of this Order. Furthermore,

TriOptima is to file an updated brief supplementing its opposition to the Motion not to exceed ten

(10) pages within seven (7) days of such deposition, and Quantile is to file a responsive brief

supplementing the Motion not to exceed ten (10) pages within seven (7) days of TriOptima’s

supplemental filing.


      So ORDERED and SIGNED this 4th day of September, 2020.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE
